Case 1:18-Cr-00834-PAE Document 5 Filed 11/19/18 Page 1 of 1

`QDOCKET/?f? No.@ /; § {; /:,M K§*Y //WMDEFENDANT@QAQ,E golf }fmf)j€°g,

RETA:NED |Zl FEDERAL DEFENDERS |J cJA D PRESENTMENT 0NLY '

 
  

 

DED
U DEFENDANT WAIVES PRETRIAL REPOR'I`

13 Rule 5 @’é;e 9 D Rule 5(c)(3) D Detention Hrg. DATE OF ARREST l /”” /@“ " 15 El voL. sURR.

 

 

nrsz oF mEsT -~z- mg d fig d 1;1 QN wm
lIl Other: TIME 0F PRESENTMENT gL/»z 63 “/‘ §/¢; f MF»’;’
ML§MQ§
EE SEP. ORDER
l:l DETENTION 0N coNsENT w/o PREJUDICE MY)Z:TENTION: RJSK 01= FLIGHT/DANGER D sEE TRANSCRIPT

|:| DETENTION HEARING SCHEDULED FOR:

m AGREED CONDITIONS OF RELEASE

U DEF. RELEASED ON OWN RECOGNIZANCE

[J $_________ PRB Cl __WFRP

|3 SECURED BY $ CASH/PROPER'I`Y:
l;l TRAVEL RESTRICTED TO SDNY/EDNY/

U TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
l:| SURRENDER TRAVEL DOCUIVIENTS (& NO NEW APPLICATIONS)

 

 

U PRETRIAL SUPERVISION: l:] REGULAR D S'I`RICT m AS DIRECTED BY PRETRIAL SERVICES
l:l DRUG TESTING/TREATMT AS DIRECTED BY P'I`S |:F MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
l`_'| DEF. TO SUBMIT TO URINALYSIS; IF POS¥TIVE, ADD CONDITION OF DRUG TEST{NG/TREATMENT

|:l HOME TNCARCERATION D HOME DETENTION |:| CURFEW L_J ELECTRONIC MONITORING Cl GPS
D DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

U DEF. TO CONTlNUE OR SEEK EN[PLOYMENT [OR] m DEF. TO CONT[NUE OR START EDUCATION PROGRAM
U DEF. NOT 'l`O POSSESS FIREARM/DESTRUCTIVE DEVICE!OTI{ER WEAPON

_D DEF. TO BE DETAlNED UNTIL ALL CONDITIONS ARE M]'_".T
D DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOW}NG CONDITIONS:
; REMA[N]NG CONDITIONS TO BE MET BY:

 

 

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

  

NGV TQZUTE

  
   

3- D. or= N."
F d_“ § 1-’
D DEF. ARRAIGNED; PLEADS NOT GUILTY B€ONFERENCE BEFORE D.J. ON z / »‘*“"( / f
U~DEF. WAIVES INDlC'I`M]-"_‘,NT (W»":?§,M

cl sPEEDY TRIAL TIME EXCLUDED UNDER 18 U.s.c. § 3161(h)(7) UNTIL

For Rule 510]!31 Cases:
Cl IDENTITY I-lEARING WAIVED U DEFENDAN'I` 'I`O'BE REMOVED

l:l PRELIMINARY I~IEARING IN SDNY WAIVED D CONTROL DATE FOR REMOVAL:

 

PRELIMINARY HEARIN _ DATE: D ON DEFENDANT’S CONSENT

\,//;;%>W»-
Um`ED STATES MAGISTRATE JUDGE, S.D.N.Y.

L‘LHlIE (original) - COURT FILE ELM§ f U.S. ATl`ORNEY'S OFFICE IELLQ.W - U.S. MARSHAL QLEEN - PRE.TRIAL SERV[CES AGENCY
Rev‘d 2016 lH » 2 -

DATE:

 

 

